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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION



 Chevron Intellectual Property LLC and
 Chevron U.S.A. Inc.,

                   Plaintiffs,

                       v.                                     Case Nos. 4:18-cv-3133
                                                                        4:19-mc-3608


 AEG Petroleum, LLC,

                  Defendant.



        DEFENDANT AEG PETROLEUM, LLC’S POST-HEARING BRIEF
  AND REQUEST FOR EXPEDITED ENTRY OF ORDER ON MOTIONS TO QUASH

        Defendant AEG Petroleum, LLC (“AEG”) files this post-hearing brief concerning the

rulings made by the Court during the January 24, 2020 hearing on three related motions to quash

separate subpoenas served on two non-party witnesses. For the reasons set out below, AEG

requests the Court to enter AEG’s proposed Order that accurately reflects the rulings made during

the hearing on the motions to quash.

                                   I.    INTRODUCTION

        During the fall of 2019, AEG served subpoenas on non-parties Western Marketing, Inc.

(“WMI”) and its Account Manager, Todd Pitts (“Mr. Pitts”). The subpoenas requested WMI and

Mr. Pitts to produce various categories of documents and appear for depositions in this case.

Plaintiffs Chevron Intellectual Property LLC and Chevron U.S.A. Inc. (collectively, “Chevron”)

filed a Motion for Protective Order and to Quash or Modify Defendant AEG’s Subpoenas (MC


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Dkt. #41 (the “Chevron Motion to Quash”)). In addition, WMI and Mr. Pitts filed separate motions

to quash AEG’s subpoenas (MC Dkt. #1 (the “WMI Motion to Quash”) and MC Dkt. #9 (the “Pitts

Motion to Quash”), respectively), and WMI also filed an additional brief in support of the WMI

Motion to Quash (MC Dkt. #10 (the “WMI Brief in Support of Motion to Quash”)). AEG, in turn,

filed a combined Response in opposition to the three motions to quash (MC Dkt. #12).

        On December 27, 2019, the Court issued an order granting Chevron’s request for oral

argument on the pending motions to quash (MC Dkt. #22). Pursuant to that order, counsel for

AEG, Chevron, WMI, and Mr. Pitts appeared before the Court on January 24, 2020 for a hearing

to consider the three motions to quash. During the hearing, the Court heard oral argument from

each of the counsel, and toward the end of the hearing requested the attorneys to confer outside

the courtroom about any agreements they could reach concerning the limits to be placed on AEG’s

requested discovery. Following their attorney conference, in which counsel for WMI and Mr. Pitts

also participated, counsel for the parties and non-parties announced to the Court certain agreements

they had reached regarding AEG’s requested discovery. At the conclusion of the hearing, the

Court announced its rulings on the three motions to quash and directed Chevron’s counsel to

prepare a proposed Order on the motions.

        Following the January 24, 2020 hearing, Chevron’s counsel drafted and circulated a

proposed Order that set out the Court’s rulings from the hearing. The original draft of the proposed

Order required only Chevron – and not WMI or Mr. Pitts – to produce documents pursuant to the

subpoenas served on WMI and Mr. Pitts. AEG’s counsel made proposed revisions to the draft



1
 “MC Dkt. #X” refers to the docket number assigned to documents filed in the Miscellaneous
Action, initially filed in the Northern District of Texas, Amarillo Division (No. 2:19-MC-11-Z),
and subsequently transferred to this Court (No. 4:19-mc-3608).

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Order to clarify that the Court’s rulings also applied to WMI and Mr. Pitts. It was only after AEG

made these proposed revisions to the draft Order that it became aware of WMI’s and Mr. Pitts’

position that the rulings made by the Court during the January 24, 2020 hearing did not apply to

WMI’s and Mr. Pitts’ motions to quash.

         On February 14, 2020, counsel for Chevron, AEG, WMI, and Mr. Pitts jointly submitted a

proposed original Order related to the motions to quash (MC Dkt. #27 (the “Proposed Original

Order”)), which stated that:

           The parties and non-parties agree that this Order applies to Chevron, but dispute
           whether and to the extent it also applies to WMI and Pitts. Separately, AEG,
           WMI, and Pitts will file short papers to address this dispute on or before
           February 25, 2020.2
Id. at 4. Pursuant to this provision in the Proposed Original Order, AEG submits this post-hearing

brief and requests the Court to enter the attached proposed amended Order (the “Proposed

Amended Order”),3 which clarifies that the rulings of the Court at the January 24, 2020 hearing

also apply equally to WMI and Mr. Pitts, and that all objections to the subpoenas that were not

argued at the hearing or raised in the motions to quash have been waived and cannot be asserted

by WMI or Mr. Pitts as a further basis for refusing to comply with the subpoenas.

                           II.   ARGUMENT AND AUTHORITIES

         WMI and Mr. Pitts filed motions that urged the Court to quash, modify, and/or delay the

discovery requests that AEG attached to the two subpoenas that were served on them. These

motions to quash were considered by the Court at the January 24, 2020 hearing, and counsel for

WMI and Mr. Pitts made arguments to the Court related to their motions. The Court’s rulings



2
    WMI, Mr. Pitts, and AEG later agreed to extend this filing deadline to February 26, 2020.
3
    A copy of AEG’s Proposed Amended Order is attached to this post-hearing brief as Exhibit 1.

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announced during the hearing addressed many of the issues raised by WMI and Mr. Pitts in their

motions to quash. WMI and Mr. Pitts should not be allowed to now argue issues that either were

raised in their motions but not addressed at the hearing, or were not even included in their motions

to quash.

A.      WMI’s and Mr. Pitts’ Motions to Quash Raised Various Grounds for Quashing the
        Subpoenas Served On Them

        The WMI Motion to Quash and Pitts Motion to Quash request the Court to quash, modify,

and/or delay the discovery requests that AEG attached to the two subpoenas that were served on

WMI and Mr. Pitts. Boiled down to their basic elements, the two motions argue that the Court

should quash, modify, and/or or delay AEG’s requested discovery for five reasons:

             The discovery sought by AEG is “unduly burdensome.” See WMI Motion to Quash at
              1, 3; Pitts Motion to Quash at 1, 3-4.

             “Chevron has also sought entry of protective orders and has asserted that certain
              information sought by AEG may be confidential or proprietary – as to Chevron,” and
              Mr. Pitts “incorporates the [Chevron Motion to Quash] here and seeks protective orders
              that would protect Pitts from being compelled to disclose information that a party is
              asserting to be confidential, proprietary, or otherwise privileged (and in any event, more
              readily available from Chevron).” Pitts Motion to Quash at 4.

             The discovery sought by AEG should be delayed until after a discovery stay is lifted in
              a separate state court action styled: AEG Petroleum, LLC v. Western Marketing, Inc.
              and Todd Pitts, Cause No. 108927-C-CV, pending in the 251st Judicial District Court
              in and for Potter County, Texas (the “AEG Lawsuit”). See WMI Motion to Quash at
              2; WMI Brief in Support of Motion to Quash at 1-2, 4; Pitts Motion to Quash at 2, 4.

             The subpoenas directed at WMI and Mr. Pitts were first raised by AEG’s counsel on
              an October 31, 2019 telephone call, during which counsel for WMI and Mr. Pitts
              objected to discovery in the AEG Lawsuit; thus, the subpoenas are “effectively AEG’s
              attempt to circumvent the discovery stay in the AEG [Lawsuit.]” See Pitts Motion to
              Quash at 3-4; WMI Motion to Quash at 2; WMI Brief in Support of Motion to Quash
              at 3.

             “Much of the written discovery sought from [Mr.] Pitts under the Subpoena appears to
              be records of WMI or information that WMI controls or to which it would have more
              readily accessible access.” Pitts Motion to Quash at 4.


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        And although WMI and Mr. Pitts served AEG with separate written objections to the two

subpoenas, the reasons listed above were the only ones raised in their motions for quashing,

modifying, and/or delaying the discovery requests attached to the subpoenas directed at them.

B.      The Hearing Addressed WMI’s and Mr. Pitts’ Motions to Quash

        WMI and Mr. Pitts apparently take the position that the January 24, 2020 hearing pertained

only to the Chevron Motion to Quash, and not the WMI Motion to Quash or the Pitts Motion to

Quash. This is simply not true. Numerous facts clearly indicate that all three motions to quash

were considered and ruled upon by the Court at the hearing.

        One of those facts is Chevron’s Unopposed Request for Oral Argument, which states that

“[o]ral argument would assist the Court in assessing the differing interests and arguments against

the subpoenas presented in the Motion filed by Chevron and the separate related motions filed by

WMI ..., and Pitts .... Collectively, these motions raise significant and commercially important

issues and implicate the free-speech rights of third parties who are the subject of the subpoenas.”

MC Dkt. #21 at 1-2. The Court granted this request and scheduled oral argument on the “Motions

for Protective Order and to Quash or Modify.” See MC Dkt. #22 at 1 (emphasis added).

        The fact that the January 24, 2020 hearing addressed the WMI Motion to Quash and Pitts

Motion to Quash also is confirmed by the actions of counsel for the two non-parties, who appeared

at the hearing and presented arguments to the Court. WMI’s counsel, Penn Huston, appeared and

made numerous arguments on behalf of his client during the hearing. See Transcript from January

24, 2020 Hearing before the Honorable Alfred E. Bennett (the “Hearing Transcript”) at 3-4, 10-




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12, 27, 36, 49.4 Mr. Pitts’ counsel, Roger Cox, also appeared at the hearing and presented

arguments for his client. See Hearing Transcript at 4, 12-13, 50. In addition, WMI’s and Mr. Pitts’

counsel participated in the attorney conference with Chevron’s and AEG’s counsel during the

recess ordered by the Court. See Hearing Transcript at 30. If WMI’s and Mr. Pitts’ counsel felt

that the hearing did not pertain to their clients’ motions to quash, they should have made that clear

at the beginning of the hearing, rather than participating in the hearing and making arguments on

behalf of their clients.

        The Court, too, apparently believed it was hearing argument from WMI and Mr. Pitts

concerning their motions to quash. At various points during the hearing, the Court asked or

allowed counsel for WMI and Mr. Pitts to explain the issues raised in their motions. See, e.g.,

Hearing Transcript at 10-13, 27, 36, 49-50. Given these facts, it is hard to understand why WMI

and Mr. Pitts believe that the hearing did not apply to their motions to quash.

C.      The Rulings Made By The Court Address Three of The Issues Raised in WMI’s and
        Mr. Pitts’ Motions to Quash

        The Court’s rulings at the January 24, 2020 hearing address three of the issues raised in the

WMI Motion to Quash and Pitts Motion to Quash. First, the Court ruled that the following

categories of documents should be produced with certain limitations:

             Written contracts and other documents reflecting agreements between WMI and
              Chevron related to WMI’s authorization to sell Chevron-produced natural gas engine
              oil products (“NGEO Products”) under WMI’s Preferred Choice private label (see
              Hearing Transcript at 34-35);

             Pricing information sufficient to reflect any discounts or rebates WMI was getting from
              Chevron related to Chevron-produced NGEO Products (see Hearing Transcript at 38-
              39); and

             Written compliance audit reports of the handling and storage procedures of Chevron-

4
 True and correct excerpts from the Hearing Transcript are attached to this post-hearing brief as
Exhibit 2.

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              produced NGEO Products performed by Chevron at WMI’s Amarillo, Texas facility
              (see Hearing Transcript at 48).

These rulings address one of the issues raised by Mr. Pitts; namely that the documents requested

are confidential, proprietary, or otherwise privileged as to Chevron. See Pitts Motion to Quash at

4.

        The Court’s rulings at the January 24, 2020 hearing also address two of the other issues

raised in WMI’s and Mr. Pitts’ motions to quash. During the hearing, the Court affirmed the

agreement reached during the attorney conference that: (a) AEG may not depose a WMI corporate

representative or Mr. Pitts in this action until after February 18, 2020, and (b) AEG may not use

the transcripts of those depositions in the AEG Lawsuit. See Hearing Transcript at 35-36. These

rulings address the timing of the depositions and the use of the transcripts in the AEG Lawsuit,

which also were raised in the WMI Motion to Quash and Pitts Motion to Quash.

D.      WMI and Mr. Pitts Should Not Be Allowed To Now Argue Issues Raised In Their
        Motions That Were Not Addressed At The Hearing

        Both WMI and Mr. Pitts argued in their motions to quash that the discovery sought by AEG

was “unduly burdensome.” See WMI Motion to Quash at 1, 3; Pitts Motion to Quash at 1, 3-4.

Counsel for WMI and Mr. Pitts did not raise this issue during the January 24, 2020 hearing, nor

did they present any evidence establishing why this requested discovery was unduly burdensome.

        The moving party seeking to quash a subpoena must demonstrate one of the enumerated

harms: annoyance, embarrassment, oppression, or undue burden or expense. Carnaby v. City of

Houston, CIV.A.4:08-CV-1366, 2008 WL 4546606, at *1 (S.D. Tex. Oct. 10, 2008) (citing

McLeod, Alexander, Powel & Apffel, P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir. 1990)).

Further, the moving party must specifically show how the requested discovery is not relevant or

is otherwise objectionable. See, e.g., McLeod, 894 F.2d at 1485; see also In re Terra Intern., Inc.,


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134 F.3d 302, 306 (5th Cir. 1998) (“‘[t]he burden is upon the movant to show the necessity of [the

protective order’s] issuance’” (quoting United States v. Garrett, 571 F.2d 1323, 1326 n. 3 (5th Cir.

1978)). Such evidence must be a particular and specific demonstration of fact. Id.; Enron Corp.

Sav. Plan v. Hewitt Associates, L.L.C., 258 F.R.D. 149, 159 (S.D. Tex. 2009) (“A party asserting

undue burden typically must present an affidavit or other evidentiary proof of the time or expense

involved in responding to the discovery request.” (citations omitted)). Conclusory and stereotyped

statements, without corroboration, do not warrant a protective order. Id. (citing McLeod, 894 F.2d

at 1485). Here, WMI and Mr. Pitts failed to meet their burden, and the Court should not permit

them to assert “undue burden” as an objection to the subpoenas after the hearing.

        In addition, Mr. Pitts asserts in his motion to quash that “[m]uch of the written discovery

sought from Pitts under the Subpoena appears to be records of WMI or information that WMI

controls or to which it would have more readily accessible access.” Pitts Motion to Quash at 4. If

that is the case, then WMI should produce the written discovery that is requested in the WMI

Subpoena. Furthermore, the instructions in the Pitts Subpoena only require Mr. Pitts to produce

requested “Documents and Things in [his] possession, custody, or control at the present time, or

coming into [his] possession, custody, or control prior to the deposition.” Thus, Mr. Pitts was not

even requested to produce documents that are not in his possession, custody, or control.

E.      WMI and Mr. Pitts Should Not Be Allowed To Now Assert New Objections to The
        Subpoenas That Were Not Raised In Their Motions

        During discussions among counsel regarding the proposed Order on the motions to quash,

it became obvious to AEG that WMI and Mr. Pitts intend to assert new objections to AEG’s

discovery requests that were not included in the motions to quash. According to WMI and Mr.

Pitts, these objections were included in their written objections to the subpoenas, and the burden

should be on AEG to oppose these objections in a motion to compel.

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        AEG vehemently disagrees with this suggestion that objections to the subpoenas not

included in WMI’s and Mr. Pitts’ motions to quash are still preserved and can be asserted as a

further basis for not complying with the subpoenas. If WMI and Mr. Pitts wanted the Court to

consider these objections, they should have included them in their motions and argued the

objections at the hearing. It would be a gross injustice if AEG is now required to spend additional

time and money on a new round of briefing related to discovery objections that should have been

included in WMI’s and Mr. Pitts’ motions to quash.

                                   III.   CONCLUSION

        Defendant AEG respectfully requests the Court to enter the Proposed Amended Order on

the motions to quash, which clarifies that the rulings made by the Court at the January 24, 2020

hearing apply equally to WMI and Mr. Pitts, and that all objections to the subpoenas that were not

argued at the hearing or raised in the motions to quash have been waived and cannot be asserted

by WMI or Mr. Pitts as a basis for refusing to comply with the subpoenas.

Date: February 26, 2020.
                                             Respectfully submitted,

                                             LOCKE LORD LLP

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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 26, 2020, a true and correct copy of this

document was served on all counsel for record via this Court’s CM/ECF system and also via email.



                                             /s/ Bradley C. Weber
                                             Bradley C. Weber




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